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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

MARCIA ARMFIELD,

             Plaintiff,

v.                                                        No. 2:16-cv-00835 LAM/GJF

SHIMADZU SCIENTIFIC
INSTRUMENTS, INC., et al,

             Defendants.

           PLAINTIFF’S AMENDED COMPLAINT FOR PERSONAL INJURY

      1.     Plaintiff is a resident Pacific, Missouri.

      2.     Defendant Shimadzu Medical Systems USA (hereinafter called “Shimadzu Medical”)

             is a foreign corporation and may be served by serving its place of business 20101

             South Vermont Ave., Torrance, California 90500.

      3.     Defendant Shimadzu America Inc. is a foreign corporation and may be served at its

             place of business 20101 South Vermont Ave., Torrance, California 90500.

      4.     Defendant General Electric Company is a foreign corporation and has appeared and

             answered herein.

                                     NEGLIGENCE COUNT

      5.     Plaintiff would show that, on or about July 2, 2013, in Dona Ana County, New

             Mexico, Marcia Armfield sustained serious and permanent injuries to her right lower

             extremity (specifically her right foot) when a Mobile Star 2 mobile x-ray machine

             manufactured by Defendants Shimadzu America Inc. and Shimadzu Medical and

             maintained and repaired by Defendants General Electric Corporation and its

             subsidiary (General Electric Healthcare), malfunctioned causing the x-ray machine
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              to crush her right foot.

       6.     The accident in question and resulting injuries to Marcia Armfield was caused by the

              negligence of one or more agents, servants or employees of Defendant Shimadzu

              Corporation in one or more of the following respects:

              a.      in negligently designing the propulsion system of the mobile x-ray machine;

              b.      in failing to warn and instruct as a reasonable, prudent manufacturer would

                      have;

              c.      in negligently manufacturing the system and its component parts;

              d.      in failing to inspect as a reasonable, prudent manufacturer would inspect;

              e.      in failing to market the system as a reasonable, prudent manufacturer should

                      have.

       That one or more of the above negligent acts or omissions was a cause of the accident in

question.

       7.     The accident in question and resulting injuries to Marcia Armfield was caused by the

              negligence of one or more agents, servants or employees of Defendant General

              Electric Corporation in one or more of the following respects:

              a.      in failing to properly service the mobile x-ray machine;

              b.      in failing to provide proper warning;

              c.      in failing to inspect as a reasonable, prudent service dealer would have

                      performed;

              d.      in failing to provide proper maintenance and calibration to the Mobile Star

                      2 x-ray machine.

       That one or more of the above negligent acts or omissions was a cause of the accident in
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question.

        8.      That one or more accident in question resulted in the injuries to Marcia Armfield was

                caused by the negligence by one or more of the agents or servants of Defendant

                Shimadzu Medical in one or more of the following

                respects:

                a.      in negligently designing the propulsion system of the mobile x-ray machine;

                b.      in failing to warn and instruct as a reasonable, prudent manufacturer would

                        have;

                c.      in negligently manufacturing the system and its component parts;

                d.      in failing to inspect as a reasonable, prudent manufacturer would inspect;

                e.      in failing to market the system as a reasonable, prudent manufacturer should

                        have.

        That one or more of the above negligent acts or omissions was a cause of the accident in

question.

        9.      As a result of the accident, Plaintiff, Marcia Armfield, sustained severe, permanent,

and disabling personal injuries; she has suffered and will continue to suffer great pain and anguish

of body and mind; she has been and will be prevented from her occupation, affairs and duties,

including, but not limited to, household duties and Plaintiff has and will sustain a loss of her earnings

as well as a loss of her earning capacity; she has incurred and will incur expenses for reasonable and

necessary medical care, treatment and services; she has and will incur other expenses as a result of

this accident which was proximately caused by the negligence of Defendants; Plaintiff Marcia

Armfield has suffered physical impairment in the past and such physical impairment is, in all

reasonable probability, permanent. Plaintiff is entitled to recover from Defendants compensatory
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damages in such amounts as may be determined by the fact finders in this case to be just, reasonable

and fair.

        WHEREFORE, Plaintiff demands judgment and the following relief from Defendants:

        a.     the amount of compensatory damages resulting from Defendants’ negligence as

determined by the triers of fact.;

        b.     pre-judgment and post-judgment interest; and

        c.     such other relief as the Court may deem appropriate.

                               STRICT LIABILITY CLAIM

        10.    Plaintiff incorporates Paragraphs 1 through 11 by reference to the same extent as if

set out as full at this point number 12. The accident in question was caused by the Mobile Star 2

mobile x-ray machine manufactured by Defendant Shimadzu Corporation and Defendant Shimadzu

Medical, which mobile x-ray system was defective and unreasonably dangerous in one or more of

the following respects:

               a.      it was defectively designed in that it was unreasonably dangerous as

designed, taking into consideration the utility of the product and the risks involved in its use;

               b.      it was defectively manufactured;

               c.      it failed to contain adequate warnings of dangers or risk of harm and/or failed

to provide adequate instructions for safe use.

        11.    At all times relevant hereto, Defendant Shimadzu Corporation and Defendant

Shimadzu Medical were engaged in the business of manufacturing and/or selling such a product and

expected the product to and said product did reach the user or consumer without substantial change

in the condition in which the product was sold, therefore, Defendant Shimadzu Corporation and

Defendant Shimadzu Medical are strictly liable to Plaintiff for the damages sued for herein.
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        12.     As a result of the accident, Plaintiff, Marcia Armfield, sustained severe, permanent,

and disabling personal injuries; she has suffered and will continue to suffer great pain and anguish

of body and mind; she has been and will be prevented from her occupation, affairs and duties,

including, but not limited to, household duties and Plaintiff has and will sustain a loss of her earnings

as well as a loss of her earning capacity; she has incurred and will incur expenses for reasonable and

necessary medical care, treatment and services; she has and will incur other expenses as a result of

this accident which was proximately caused by the negligence of Defendants; Plaintiff Marcia

Armfield has suffered physical impairment in the past and such physical impairment is, in all

reasonable probability, permanent. Plaintiff is entitled to recover from Defendants compensatory

damages in such amounts as may be determined by the fact finders in this case to be just, reasonable

and fair.

        WHEREFORE, Plaintiff demands judgment and the following relief from Defendants:

        a.      the amount of Plaintiff’s compensatory damages resulting from the accident in

question for which Defendants are strictly liable in such sums determined by the triers of fact.;

        b.      pre-judgment and post-judgment interest; and

        c.      such other relief as the Court may deem appropriate.


                                                Respectfully submitted,

                                                TRENCHARD & HOSKINS
                                                306 N. Lea
                                                Roswell, New Mexico 88201
                                                575-622-7774
                                                575-622-4705 Fax


                                                By:     /S/ Royce E. Hoskins
                                                        Royce E. Hoskins
                                                        ATTORNEY FOR PLAINTIFF
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